
      1
     Nancy A. Leprino, as Co-Trustee, of Nancy A. Leprino Irrevocable Grantor Trust; Denis Patrick Gibbs, as Independent Trustee of Nancy A. Leprino Irrevocable Grantor Trust; the Nancy A. Leprino GST Exempt Trust Under Agreement Creating the Nancy A. Leprino Irrevocable Grantor Trust Dated December 20, 2012; the Nancy A. Leprino GST Non-Exempt Trust Under Agreement Creating the Nancy A. Leprino Irrevocable Grantor Trust Dated December 20, 2012; and Nancy A. Leprino as Personal Representative of the Estate of Mike A. Leprino, a/k/a Mike Leprino, a/k/a Mike Andrew Leprino, Deceased;; Petitioners  v.  Leprino Foods Company, a Colorado corporation; James G. Leprino; Terry L. Leprino; Gina M. Vecchiarelli; Daniel A. Vecchiarelli; Terry L. Leprino, as trustee on behalf of the James G. Leprino Irrevocable Trust #4; Gina M. Vecchiarelli, as trustee on behalf of the James G. Leprino Irrevocable Trust #4; Daniel A. Vecchiarelli, as trustee on behalf of the James G. Leprino Irrevocable Trust #4; JGL 2014 GRAT; JGL-GMV 2011 GST Trust; JGLTLL 2011 GST Trust; TLL 2011 GST Trust; TLL 2014 GRAT; Terry Leprino Trust #1; Terry Lynn Leprino Irrevocable Trust #4; Terry Lynn Leprino Irrevocable Trust #5; Gina Vecchiarelli Trust #1; Gina Marie Vecchiarelli Irrevocable Trust #4; Gina Marie Vecchiarelli Irrevocable Trust #5; GMV 2011 GST Trust; GMV 2014 GRAT; Francesca Rae Vecchiarelli 2008 Trust; and Gianna Marie Vecchiarelli 2008 Trust. Respondents No. 24SC129Supreme Court of Colorado, En BancAugust 19, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA147
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE
      BOATRIGHT does not participate.
    